[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
The court finds the allegations of the complaint proven. The court does not find the defendant's special defense proven. CT Page 6443
The court finds that the first count of the counterclaim is not proven. The court finds that the second count of the counterclaim was proven with respect to liability. Paragraph 22 of the lease is not a bar to the plaintiff's liability under the circumstances of this case. However, the defendant failed to prove its damages by a fair preponderance of the evidence.
The plaintiff's damages are found to be $15,937.50, less the defendant's security deposit of $4,125, plus interest of $1,000, plus attorney's fees of $2,650. Judgment may enter for the plaintiff in the amount of $15,462.50, plus taxable costs.
BY THE COURT
Bruce L. LevinJudge of the Superior Court